                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff                 )
                                               )
v.                                             )         No. 3:05-CR-115
                                               )         (PHILLIPS/GUYTON)
JOSEPH FAIRCLOTH,                              )
                                               )
                                               )
                     Defendant                 )



                    ORDER OF DETENTION PENDING TRIAL

              The above-named defendant appeared in custody before the undersigned on

November 8, 2005, for an initial appearance and arraignment on an indictment.

Assistant United States Attorney Brownlow Marsh was present for the government and

Joseph Baker appeared as retained counsel for the defendant

              The defendant was brought before this Court on a writ. Counsel for the

defendant announced that the defendant would waive a detention hearing. The defendant

and his attorney executed a Waiver of Detention Hearing in open court reserving the

defendant’s right to request a hearing at a later date if his circumstances should change.

              Accordingly, the defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a corrections facility separate,

to the extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal. The defendant shall be afforded a reasonable opportunity for



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private consultation with defense counsel. On order of a court of the United States or on

request of an attorney for the government, the person in charge of the corrections facility

shall deliver the defendant to the United States Marshal for the purpose of an appearance

in connection with a court proceeding.



              IT IS SO ORDERED.

                                                 s/ H. Bruce Guyton
                                                 United States Magistrate Judge




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